Case 2:02-Cr-20058-BBD Document 612 Filed 09/02/05 Page 1 of 2 Page|D 702

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UNITED STATEs DIsTRICT coURT AF" U-C-

wEsTERN DISTRICT oF TENNESSEE 95 SEP _' FH 5: w
Western Division

    

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UNITED STATES OF AMERICA CLEF" 7 ' ` {VC`§)UHT
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-vs- Case No. 2:02cr20058-9-D

HENRY PURDUE

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Aet (18 U.S.C. § 3006A):

APPOINTMEN'I` OF COUNSEL
* The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
~ Probation/Supervised Release Violation

‘ST_
DONE and ORDERED in 167 North Main, Memphis, this / day of Septernber,

 

2005.
/O on Mw »(/. ZJM/r
DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE
Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Off'lce

Assistant Federal Public Defender
lntake

HENRY PURDUE

This document entered on the dockets eet in compliance

with sole ss and/or az(b) Fsch on '3/0,5 [_O lQ~)

STRIC COURT - WE"RNT DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 612 in
case 2:02-CR-20058 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

 

PDA

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Honorable Bernice Donald
US DISTRICT COURT

